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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
TEACHERS COLLEGE, COLUMBIA UNIVERSITY,
                                                                         Civil Action No. _______
                                                      Petitioner,

                                 v.
                                                                         NOTICE OF REMOVAL
LOCAL 2110, TECHNICAL, OFFICE AND
PROFESSIONAL UNION, UAW, AFL-CIO,

                                                     Respondent.
---------------------------------------------------------------------X

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441(a), Local 2110, Technical,

Office and Professional Union, UAW, AFL-CIO (“Union” or “Respondent”), by and through its

attorneys, Levy Ratner, P.C. (“Levy Ratner”), hereby removes the New York State Supreme

Court action described below (“State Court Action”) to the United States District Court for the

Southern District of New York on the following grounds:

         1.        Petitioner Teachers College, Columbia University (“Employer” or “Petitioner”)

commenced the State Court Action in the Supreme Court of the State of New York, County of

New York, titled Teachers College, Columbia University v. Local 2110, Technical, Office and

Professional Union, United Auto Workers, AFL-CIO, Index Number 653254/2019 on June 3,

2019, and the Union accepted service of process via e-mail to the undersigned on that same day.

A true and correct copy of Petitioner’s Verified Petition to Vacate Arbitration Award (“Verified

Petition”) is attached hereto as Exhibit 1. True and correct copies of all other documents served

upon Levy Ratner in the State Court Action are attached hereto as Exhibits 2 through 13.

Exhibits 1 through 13 are complete copies of all of the documents filed in the State Court Action.

         2.        No responsive pleadings have been filed or served in the State Court Action, and

the time within which to respond has not expired. The Union’s response to the Verified Petition
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is currently due August 1, 2019. This Notice of Removal (“Notice”) is being filed within 30

days after the service of the Verified Petition and accompanying documents. Hence, this Notice

is filed timely with the Court. See 28 U.S.C. § 1446(b)(1).

         3.        The State Court Action is a civil action in which this Court has federal question

jurisdiction. See 28 U.S.C. § 1331. “The district courts shall have original jurisdiction of all

civil actions arising out of the Constitution, laws, or treaties of the United States.” Id. Vacatur

of an arbitration award is governed by Section 9 of the Federal Arbitration Act (“FAA”), 9

U.S.C. § 10. The State Court Action may be removed pursuant to 28 U.S.C. § 1441(a).

         4.        This Court also has jurisdiction pursuant to § 301 of the Labor Management

Relations Act (“LMRA”), 29 U.S.C. § 185. Respondent is a labor organization which maintains

its principle office in Manhattan and which represents employees in an industry affecting

commerce as defined in Section 2(5) of the National Labor Relations Act (“NLRA”), 29 U.S.C.

§ 152(5). Petitioner is an employer within the meaning of Section 2(2) of the NLRA, 29 U.S.C.

§ 152(2), which maintains its principle office in Manhattan and is engaged in an industry

affecting commerce within the meaning of Section 2(7) of the NLRA, 29 U.S.C. § 152(7).

         5.        Respondent Union filed a Petition to Confirm Arbitration Award with this Court

on April 27, 2017 in Local 2110, Technical, Office and Professional Union, UAW, AFL-CIO v.

Teachers College, Columbia University, Civil Action No. 17-cv-03095-WHP (the “Petition to

Confirm”). The Honorable Judge William H. Pauley remanded that matter to the arbitrator,

whose clarified arbitration award is the subject of the Petitioner’s Verified Petition in the State

Court Action. The instant matter is therefore closely related to the Union’s prior Petition to

Confirm before Judge Pauley.


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         6.        Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice will be served promptly

upon the Petitioner and filed promptly with the New York State Supreme Court for the County of

New York.

Dated: June 27, 2019
       New York, New York

                                                             Respectfully submitted,

                                                             LEVY RATNER, P.C.


                                                             ______________________________
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